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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________________
UNITED STATES OF AMERICA,

       -against-                                                    02-CR-291

THOMAS OVERBAUGH,
                                    Defendant.
________________________________________________

THOMAS J. McAVOY,
Senior United States District Judge

                                             ORDER

       In the case of Overbaugh v. United States, 06-CV-69 (N.D.N.Y.), the undersigned recused

himself to avoid even the appearance of impropriety. See 3/22/06 Order (dkt. # 18). Although the

same circumstances that warranted recusal in 06-CV-69 do not appear to be present in the instant

case, the undersigned once again finds that recusal is required under 28 U.S.C. § 455 to avoid even

the appearance of impropriety.

       Therefore, it is hereby

       ORDERED that the undersigned recuses himself from presiding over all matters in this case

related to Defendant Thomas Overbaugh. Matters involving Defendant Thomas Overbaugh will be

handled by United States District Judge Gary Sharpe. The undersigned will continue to handle

matters in this case concerning any other defendants.

IT IS SO ORDERED.

DATED: May 15, 2006
